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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


ALEXANDRA RIKAS,                )
                                )
        Plaintiff,              )            Case No.
                                )
v.                              )            Judge
                                )
P.O. THOMAS BABUSCH             )            Magistrate Judge
individually, and the NORTHEAST )
ILLINOIS REGIONAL COMMU- )
TER RAILROAD CORPORATION )
(a/k/a METRA), a municipal      )
corporation,                    )
                                )
        Defendants.             )

                                       COMPLAINT

        NOW COMES the Plaintiff, ALEXANDRA RIKAS, by and through her attorneys,
and complaining against the Defendants, THOMAS BABUSCH , individually, and the
NORTHEAST ILLINOIS REGIONAL COMMUTER RAILROAD CORPORATION
(hereafter "METRA") states as follows:

                              COUNT I-EXCESSIVE FORCE

1.      This action is brought pursuant to the Laws of the United States Constitution,
specifically, 42 U.S.C. §1983 and §1988, and the laws of the State of Illinois, to redress
deprivations of the Civil Rights of the Plaintiff, and accomplished by acts and/or omissions of
the Defendant.

2.     Jurisdiction is based on Title 28 U.S.C. §1331 and §1343 and supplemental
and pendant jurisdiction of the claims under state law.

3.     The Plaintiff, ALEXANDRA RIKAS, at all relevant times, was a United States citizen
and permanent resident of the State of Illinois.

4. That the defendant, NORTHEAST ILLINOIS REGIONAL COMMUTER RAILROAD
CORPORATION ( hereafter "METRA") was at all times mentioned herein a municipal
corporation doing business in the State of Illinois.

5.     The Defendant, THOMAS BABUSCH, was, at all relevant times, a duly
appointed police officer and employee of the METRA Police Department and at all relevant
times was acting within his scope of employment and under color of law.
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6.      On or about May 9, 2012, the Plaintiff, together with her boyfriend, were passengers
seated on a METRA train awaiting departure from the LaSalle Street train station in
downtown Chicago, Illinois.

7.    At the aforesaid time and place the defendant, BABUSCH, in the company of another
METRA police officer, told the plaintiff to get off the train because she was being too loud
and was causing a disturbance.

8.    The Plaintiff verbally objected to the request and denied that she was disturbing
anyone, but then proceeded to exit the train as requested by BABUSCH.

9.      After exiting the train with her boyfriend, Plaintiff began to leave the station by
walking on the concrete railroad passenger platform running adjacent to the train. At such
time and without provocation, BABUSCH violently grabbed the Plaintiff from behind and
threw her down forcefully and violently onto the concrete platform. BABUSCH then put his
knee and body weight onto the back of the Plaintiff's back, grabbed her hair and slammed her
face into the concrete further injuring her and causing her teeth to break and cutting her lip
and mouth. BABUSCH proceeded to put his knee and body weight on the back of the
Plaintiff's neck while handcuffing her.

10.    At the aforesaid time the other METRA officer restrained the plaintiff's boyfriend
from assisting her and told him that the matter didn't involve him and to stay out of it or he
would be arrested.

11.     Thereafter, while the Plaintiff lay injured and bleeding from her face on the platform,
unidentified additional METRA police and Chicago police arrived on the scene with the
ambulance personnel. While the plaintiff was being removed by ambulance, an unidentified
Chicago Policeman threw a towel over the plaintiff's face to prevent her boyfriend and other
persons from trying to photograph the plaintiff's injured face while she was being transported
to the ambulance on a stretcher.

12.     Thereafter the plaintiff was taken by ambulance to Northwestern Hospital where she
received medical treatment for her injuries.

13.    While at Northwestern Hospital, BABUSCH issued a ticket to the plaintiff charging
her with trespassing.

14.    The use of force by Defendant, BABUSCH, was unprovoked, unnecessary, excessive
and unreasonable under the circumstances.

15.    The actions of Defendant, BABUSCH, were done intentionally and with malice.

16. Due to the excessive use of force and other wrongful conduct committed by
BABUSCH, the plaintiff was injured and sustained damages.

17.    The actions of Defendant, BABUSCH, violated the Plaintiff's Fourth Amendment
Rights of the United States Constitution and were in violation of said rights protected by 42
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U.S.C. § 1983.

18.     As a direct and proximate consequence of said conduct of the Defendant, BABUSCH,
the Plaintiff suffered a violation of her constitutional rights, causing her serious injuries,
emotional anxiety, fear, pain and suffering, monetary loss and expense, as well as future pain
and suffering and permanent injury.


       WHEREFORE, the Plaintiff, ALEXANDRA RIKAS, prays for judgment in her favor
and against Defendant,. THOMAS BABUSCH, , in an amount in excess of ONE
HUNDRED FIFTY THOUSAND ($150,000.00) DOLLARS compensatory damages and
TWO HUNDRED THOUSAND ($200,000.00) DOLLARS punitive damages, plus
attorney’s fees and costs pursuant to 42 U.S.C. 1988.

                                COUNT II-FALSE ARREST

1-13. The Plaintiff ALEXANDRA RIKAS hereby realleges and incorporates her allegations
of paragraphs 1-13 of Count I as her respective allegations of paragraphs 1-13 of Count II as
though fully set forth herein.

14.     To cover up the unlawful and excessive force the Defendant BABUSCH arrested
plaintiff and charged her with trespassing on railroad property in violation of the laws of the
State of Illinois.

15.    There was no probable cause to arrest the Plaintiff.

16.    There was no probable cause to charge the Plaintiff.

17.    The charges against the plaintiff were false.

18.    The Plaintiff did not commit the crime of trespass as charged.

19.    At all relevant times the BABUSCH was to be acting pursuant to customs, practices
and policies of METRA.

20.    The actions of Defendant, BABUSCH, were intentional, willful and wanton.

21.     The actions of Defendant, BABUSCH , violated the Plaintiff's rights under the Fourth
and Fourteenth Amendment Rights of the United States Constitution and were in violation of
several rights protected by 42 U.S.C. § 1983.

22.     As a direct and proximate consequence of said wrongful conduct of the Defendant,
BABUSCH, the Plaintiff, suffered violations of her constitutional rights, emotional anxiety,
fear, humiliation, monetary loss, and pain and suffering and other injury.

       WHEREFORE, the Plaintiff, ALEXANDRA RIKAS, prays for judgment in her favor
and against Defendant, BABUSCH, in an amount in excess of ONE HUNDRED FIFTY
THOUSAND ($150,000.00) DOLLARS compensatory damages and TWO HUNDRED
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THOUSAND ($200,000.00) DOLLARS punitive damages, plus attorney’s fees and costs
pursuant to 42 U.S.C. 1988.

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                                  COUNT III-BATTERY

1-13. The Plaintiff ALEXANDRA RIKAS hereby realleges and incorporates her allegations
of paragraphs 1-13 of Count I as her respective allegations of paragraphs 1-13 of Count III as
though fully set forth herein..

14.    The Defendant, BABUSCH, had no just cause to physically attack the Plaintiff.

15.   The wrongful conduct of the Defendant, BABUSCH, was intentional, willful and
wanton.

16.     The wrongful conduct of the Defendant, BABUSCH, constitutes a battery on the
plaintiff.

17      As a result of the actions of the Defendant, BABUSCH, the Plaintiff suffered injuries,
pain, suffering, distress, fear, anxiety and monetary expense, future pain and permanent
injury.

      WHEREFORE, the Plaintiff, ALEXANDRA RIKAS, prays for judgment against the
Defendant, THOMAS BABUSCH, in an amount in excess of ONE HUNDRED FIFTY
THOUSAND ($150,000.00) DOLLARS in compensatory damages and TWO HUNDRED
THOUSAND ($200,000.00) DOLLARS in punitive damages, plus attorneys’ fees and costs.

                       COUNT IV – INDEMNIFICATION/METRA

1-13. The Plaintiff hereby realleges and incorporates her allegations of paragraphs 1-13 of
Count I, as her respective allegations of paragraphs 1-13 of Count IV as though fully set forth
herein.

14.      Illinois law provides that public entities are directed to pay any tort judgment for
compensatory damages for which employees are liable within the scope of their employment
activities.

15. The Defendant, BABUSCH, is or was an employee of defendant, METRA, who was
acting acted within the scope of his employment when he committed the wrongful acts
alleged in Count I through III herein.

16. That should the Defendant, THOMAS BABUSCH, be found liable for the acts alleged
above, the Defendant, METRA, would is liable to pay the Plaintiff the amount of any
judgment obtained against said Defendant, BABUSCH.

      WHEREFORE, the Plaintiff, ALEXANDRA RIKAS, prays for judgment against the
Defendant, METRA, for any sums found to be due and owing to the Plaintiff as a result of the
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wrongful conduct of the Defendant, BABUSCH, as alleged herein.


      JURY IS DEMANDED ON ALL COUNTS




                                                /s/ William F. Fitzpatrick
                                                ________________________________
                                                One of the Attorneys for Plaintiff


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